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                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA


          In re:                                              Chapter l1

          1   GLOBAL CAPITAL LLC,                             Case   No.    18-       _     (   )

                                       Debtor.




                                   CORPORATE                 RSHIP STATE,MENT

        Pursuant to rules 1007(a)(1) and 7007.I    of the Federal Rules of Bankruptcy Procedure, the following      ar

corporations, other than a governmental unit, that directly or indirectly own l}Yo or more of any class of the Debtor'

equity interests:

                       Equity Holder                         Anproximate Percentage of Shares Held
                    Ruderman Family Trust                            100% of membership interest
                                                                       in   1   Global Capital LLC
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 Fill in this information to identify the case and this filing


 Debtor Name       I   Globâl Câôilâl I I c

 Un¡ted States Bankruptcy Court for the Southern Þistr¡ct of Florida
 Case number (tfknown):




Official Form202
Declaration Under Penalty of Periury for Non-lndividual Debtors                                                                                            12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual's position or relationship to the debtor, the identity of        the   document, and the date. Bankruptcy Rules 1 008 and
901 1.

WARNING        *
             Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud            in   connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 1B U.S.C. SS 1 52, 1341 , 151 I, and 3571 .



              Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;         or another individual
          serving as a representative ofthe debtor in th¡s case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         tr        Schedute     NB: Assefs-Rea/   a   nd Personal Property (Official Form 206A/8)

         O         Schedule     D: Creditors Who Have     C¡aims Secured by Property (official Form 206D)

         n         Schedute     HF: Creditors Who Have lJnsecured C/arms (Official Form 2068/F)

         t]        Schedule G: Executory Contracts and tJnexpired Leases (Official Form 206G)


         tr        Schedule H: Codebtors (Offícial Form 206H)

         n         Summary of Assefs and Liaþilities for Non-lndividuals (Official Form 2065um)

         tr        Amended Schedute

         n             Chapter 11 or Chapter 9 Cases: Lrsf of   C red¡tors   Who Have the 20 Largest tJnsecured Claims and Are Nof /nsrders (Official Form 204)


         EI        Otne¡. document that requires a      declaration Corporate Ownership Statement



         I   declare under penalty of perjury that the foregoing is true           correct.


         Executed on
                               $+ l??         las*
                               n¡H¡idorww                                         re of individual signing    of debtor




                                                                             Steven A. Schwartz
                                                                         Printed name


                                                                             Authorized Signatory
                                                                         P



               Official Form 202                                    Þeclarat¡on Under Penalty of Perjury for Non'f ndividual Debtors
